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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 CYNOSURE, LLC, a Delaware limited liability
 company; and LOTUS PARENT, INC., a
 Delaware corporation,

                  Plaintiffs,
                                                            Civil Action No. 1:22-cv-11176-PBS
 v.

 REVEAL LASERS LLC; a Nevada limited
 liability company, et al.,

                  Defendants.



              DEFENDANTS’ 1 OPPOSITION TO PLAINTIFFS’ MOTION FOR
             ENTRY OF JUDGMENT ON PLAINTIFFS’ CHAPTER 93A CLAIM

        The Court should deny Plaintiffs’ Motion for Entry of Judgment in Favor of Plaintiffs on

Their Chapter 93A Claim, For Prejudgment Interest, and for Attorneys’ Fees and Costs (Dkt. 673)

(“Plaintiffs’ Motion”) because it fails as a matter of law for the following reasons:

        1.       The alleged conduct did not occur “primarily and substantially” in
                 Massachusetts: The purported acts spanned multiple states and countries, with
                 minimal connection to Massachusetts, as required under Chapter 93A.

        2.       The claims arise from employment disputes: The allegations and relevant
                 conduct in question primarily concerns acts within the employer-employee
                 relationship, which is not actionable under Chapter 93A.

        3.       The requested damages are duplicative and disproportionate: Plaintiffs seek
                 cumulative damages for the same alleged injuries already addressed by the jury,
                 and the excessive punitive damages requested are unsupported by evidence of
                 willful or knowing misconduct.


1
  Reveal Lasers Ltd., Reveal Lasers LLC (collectively “Reveal”), Robert Daley, and Christopher Chambers (together
with Reveal, the “Defendants”). Plaintiffs’ Motion seeks entry of judgment under Chapter 93A as it relates only to
these defendants. However, at least seventeen named defendants in this case have not had any of the claims against
them adjudicated. As such, Plaintiffs’ Motion is premature and Defendants maintain their objection to the Court’s
consideration of Plaintiffs’ Motion until the claims against the remaining defendants, which involve distinct and
particularized factual scenarios, are heard by a jury and resolved.
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                                           I.       INTRODUCTION

         Cynosure’s state specific Chapter 93A claim does not apply to this case. In fact, based on

Cynosure’s own case theory and allegations, it fails as a matter of law. For over two years,

Cynosure 2 positioned their entire case around allegations that its employees orchestrated an

elaborate and far-reaching corporate raid in which they “stole a pre-packaged, fully-functioning

nationwide sales organization” and then targeted their “thousands of customers throughout the

United States and Canada” in an effort “to destroy Cynosure.” 3 According to Cynosure, the

employees’ efforts “culminated in an audacious national recruiting tour on Reveal’s behalf —

where Daley and Chambers flew around the country meeting with Cynosure’s best sales and

marketing leaders to get them ‘signed up’ to Reveal Lasers while expensing the trips to

Cynosure.” 4

         Cynosure maintained these allegations at trial when it opened and closed its case by

illustrating to the jury the alleged scope of Defendants’ purportedly tortious conduct by having a

stylized aircraft ‘fly’ around the country to states like Washington, Texas, Tennessee, Florida,

Georgia, Illinois, and New York. Cynosure also attempted to illicit witness testimony to support

its theory that Defendants’ alleged conspiracy to destroy Cynosure was executed through

clandestine activities that were carried out from coast to coast and around the world in places like

Turks and Caicos, the Bahamas, Israel, and Korea.

         Now, emboldened by a runaway jury’s erroneous $15,000,000 verdict, 5 Cynosure



2
  Plaintiffs Cynosure LLC and Lotus Parent, Inc. are collectively referred to herein as “Cynosure” or “Plaintiffs”.
3
  Plaintiffs’ Complaint for Injunctive Relief and Damages (the “Complaint”) filed July 20, 2022, (Dkt. 1) at ¶¶ 2, 26
4
  Plaintiffs’ Motion at pp. 1-2
5
  As set forth in greater detail in Defendants’ Motion for Clarification of Jury Verdict (Dkt. 667), Cynosure’s position
that the jury awarded $25,000,000 in compensatory damages is, like the award itself, unsupported by the record and
controlling law. By referencing the amount of the jury’s verdict herein, Defendants do not waive any argument that
the amount was erroneously reached and reserve all rights to challenge the verdict in post-judgment briefing and on
appeal.


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abandons its worldwide theme and tries to shoehorn its case into the Commonwealth by asking

this Court to analyze “precisely the same underlying evidence” 6 the jury considered and then

utilize Massachusetts General Laws Chapter 93A — a state specific statute that by its express

language is only applicable to tortious activity occurring in Massachusetts — to impermissibly

increase the jury’s already excessive judgment through an unprecedented additional award of

cumulative, duplicative, and punitive damages.

           As explained in this opposition, Plaintiffs’ Motion fails to establish, and applicable law and

common sense dispense of the proposition, that Cynosure is entitled to such an award or that it can

obtain it by invoking a state statute designed to regulate conduct occurring primarily in

Massachusetts. Plaintiffs’ Motion is another transparent and legally unsupported step in

Cynosure’s relentless quest to financially ruin Defendants and stifle its competitors in the

courtroom to avoid fair competition in the streets.

                                                 II.     ARGUMENT

A.         The Conduct Plaintiffs’ Rely on in Support of Their Chapter 93A Claim Did Not
           Occur Primarily and Substantially Within Massachusetts.

           Plaintiffs have moved for entry of judgment against Defendants for violations of

Massachusetts General Laws Chapter 93A (“Chapter 93A”) § 11 on the basis that Defendants

engaged in unfair and deceptive business practices. 7 However, to even bring their Chapter 93A

claim, Plaintiffs must demonstrate that any allegedly deceptive conduct “occurred primarily and

substantially within the commonwealth.” See Mass. Gen. L. c. 93A, § 11 (requiring that “no action

shall be brought or maintained under this section unless the actions and transactions

constituting…the unfair or deceptive act or practice occurred primarily and substantially within



6
    Plaintiffs’ Motion at p. 2 (emphasis in original).
7
    See generally Plaintiffs’ Motion.


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the commonwealth.”). “Whether the actions and transactions [constituting the § 11 claim] occurred

primarily and substantially within the commonwealth is not a determination that can be reduced

to any precise formula” and “[a]ny determination necessarily will be fact intensive and unique to

each case.” Kuwaiti Danish Computer Co. v. Digital Equip. Corp., 438 Mass. 459, 472 (2003). In

making this determination, only the defendants’ unfair and deceptive acts are relevant; other

contacts with Massachusetts, such as a defendant like Mr. Daley residing there, “do not play a part

in this assessment.” Armstrong v. White Winston Select Asset Funds, LLC, No. 16-10666-JGD,

2022 WL 17981392, at *24 (D. Mass. Dec. 27, 2022) (quoting AECOM Tech. Servs. Inc. v.

Mallinckrodt LLC, 117 F.Supp.3d 98, 106 (D. Mass. 2015)).

          The First Circuit has also cautioned “that, if the significant contacts of competing

jurisdictions are approximately in the balance, the conduct in question cannot be said to have

occurred primarily and substantially in Massachusetts.” Uncle Henry’s, Inc. v. Plaut Consulting

Co., 399 F.3d 33, 45 (1st Cir. 2005) (citing cases). In other words, the appropriate inquiry looks at

“whether the center of gravity of the circumstances that give rise to the claim is primarily and

substantially within the Commonwealth.” Kuwaiti, 438 Mass. At 473. “Where alleged

wrongdoing is not focused on Massachusetts, but has relevant and substantial impact across

the country, the ‘primarily’ requirement is not satisfied.” Neural Magic, Inc. v. Meta Platforms,

Inc., 659 F.Supp.3d 138, 183 (D. Mass. 2023) (citing Uncle Henry’s, 399 F.3d at 45) (emphasis

added).

          Here, Plaintiffs have no credible argument or evidence through which they could establish

that Defendants’ purportedly deceptive and unfair conduct occurred primarily and substantially

within Massachusetts. From the outset of this litigation, and over the two years it has persisted,

Cynosure has made clear that its entire case theory, including its Chapter 93A claim, is that




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Defendants orchestrated a global and nationwide scheme on behalf of Reveal “to break into the

U.S. market by raiding Cynosure’s sales force, attempting to divert its customers, stealing its trade

secrets, and misappropriating its marketing channels” resulting in lost profits from reduced sales

in every corner of the United States. 8 For example, as to the alleged raid on Cynosure’s sales force,

Plaintiffs asserted that Defendants targeted “key Cynosure managers strategically plucked from

geographic regions around the country…who in turn recruited at least [a] dozen others…to follow

them.” 9 Plaintiffs included visual aids in both their Complaint and Amended Complaint to

highlight in red the areas of the country 10 where the relevant senior members of Cynosure’s sales

organization operated and were allegedly raided by Defendants:

                                 EXCERPT FROM COMPLAINTS 11




        At trial, Plaintiffs opened and closed their case by making sure the jury understood that

Plaintiffs’ position was not that Defendants’ alleged raid of these nationwide sales leaders was


8
   Complaint at ¶ 1; see also Plaintiffs’ First Amended Complaint for Injunctive Relief and Damages (“Amended
Complaint”) (Dkt. 63) at ¶ 1 (same).
9
  Amended Complaint at ¶ 3.
10
   While not reflected on Plaintiffs’ visual aid, another individual who was allegedly targeted during Defendants
supposed raid was Cory Murrell. Mr. Murrell was one of the three most senior leaders at Cynosure and acted as the
company’s Area Vice President of Sales for all of Canada. See Amended Complaint at ¶ 14.
11
   See Complaint at ¶ 35; see also Amended Complaint at ¶ 51.


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carried out remotely from Massachusetts, but that Defendants Chambers and Daley traveled across

the country, on Cynosure’s time and Cynosure’s dime, committing their purportedly tortious acts

in a variety of states. 12 Plaintiffs again utilized visual aids to reinforce their theory to the jury:

                  EXCERPT OF PLAINTIFFS’ TRIAL DEMONSTRATIVES 13




         Plaintiffs continue to advance this theory in Plaintiffs’ Motion, where they focus a majority

of their allegations of unfair and deceptive practices on the raid of Cynosure’s sale force, claiming

that Defendants’ entire deceitful plan “culminated in an audacious national recruiting tour on

Reveal’s behalf — where Daley and Chambers flew around the country meeting with Cynosure’s

best sales and marketing leaders to get them ‘signed up’ to Reveal Lasers while expensing the trips

to Cynosure.” 14

         But Plaintiffs’ focus on the geographical scope of Defendants’ alleged conduct didn’t stop

with the foregoing illustrations. They also called current Cynosure employee Kyle Robertson, who




12
   See Trial Transcript (“Tr. Tran.”) Day 1 at 49:6-52:14 (in part, “Mr. Daley and Mr. Chambers flew around the country
for Reveal Lasers on recruiting trips while they were working at Cynosure, remarkably on Cynosure’s time and
Cynosure’s dime.”); see also Tr. Tran. Day 17 at 176:8-180:5.
13
   See PDX5.
14
   Plaintiffs’ Motion at pp. 1-2.


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at the time of Defendants’ allegedly tortious acts was a district sales manager for Cynosure in

Canada, to the stand to tell the jury about Defendants’ purported deceptive recruiting efforts

overseas at Cynosure’s President’s Club in Turks and Caicos. 15 Plaintiffs then questioned several

of Cynosure’s current and former employees to elicit further testimony about Defendants’ alleged

tortious conduct in Turks and Caicos for the jury’s consideration. 16 Similar testimony was elicited

from the purportedly raided Cynosure employees that was intended to show that Defendants’

alleged deceptive and unfair recruiting activities were also taking place at Cynosure’s National

Sales Meeting in the Bahamas immediately before the President’s Club. 17 In short, assuming

arguendo that there was an unfair and deceptive raid of Cynosure’s sales force by Defendants, that

raid was effectuated through alleged recruiting efforts in at least eight states and four countries. 18

         Yet, the only mention in Plaintiffs’ Motion of any allegedly deceptive and unfair recruiting

practices by Defendants within Massachusetts is the inclusion of Burlington in a list of seven other

cities that Defendants purportedly traveled to during their alleged ‘audacious national recruiting

tour.’ 19 However, a review of the Amended Complaint and the testimony at trial shows that the

only alleged recruiting by Defendants to have occurred in Burlington was a meeting with a single

then-Cynosure employee, Daniel DeMarco. 20 This lone meeting with 1 of the 28 allegedly raided

employees, in 1 of the 8 states where meetings are claimed to have occurred, cannot support a



15
   Tr. Tran. Day 12 at 130:33-131:21; see also Plaintiffs’ Motion at p. 8.
16
   See e.g. Tr. Tran. Day 8 at 47:10-48:13 (Cory Murrell); Tr. Tran. Day 12 at 130:15-131:5 (Kyle Robertson); Tr. Tran.
Day 13 at 132:4-133:11 (Jason Kalso).
17
   See e.g. Tr. Tran. Day 6 at 178:11-180:6 (Yunior Caballero); Tr. Tran. Day 8 at 42:23-43:5, 51:12-24 (Cory Murrell);
Tr. Tran. Day 9 at 10:18-11:12 (Bob Daley).
18
   Notably, Plaintiffs refer to Defendants’ ‘aggressive recruiting’ as the mechanism through which Chambers and Daley
“executed Defendants’ unfair and deceitful plan” that underlies Plaintiffs’ Chapter 93A claim. Plaintiffs’ Motion at p.
7. Thus, the geographic scope of those recruiting efforts should be a critical component in the Court’s analysis of
“whether the center of gravity of the circumstances that give rise to the claim is primarily and substantially within the
Commonwealth.” Kuwaiti, 438 Mass. At 473.
19
   See Plaintiffs’ Motion at p. 10.
20
   See Tr. Tran. Day 7 at 149:10-12 (“Do you recall the next day, on the 28th, you met with Danny DeMarco at a Marriot
in Burlington? That’s – yeah, Danny and I met at the Burlington Marriot.”).


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finding that Defendants’ tortious activity occurred substantially and primarily in Massachusetts, as

it must to support a claim under Chapter 93A.

         Furthermore, Plaintiffs’ remaining allegations of unfair and deceptive conduct — taking

Cynosure’s confidential information and trading directly on Cynosure’s goodwill 21 — are

necessarily geographically intertwined with the alleged raid of Cynosure’s sales force. According

to Plaintiffs, Defendants “compounded their deceptive recruiting of Cynosure’s salesforce by

hiring almost all of the former Cynosure employees in directly competing roles in the same exact

territories...thereby allowing them [to] use the misappropriated information to destroy Cynosure’s

goodwill” 22 Defendants did so, Plaintiffs claim, in an attempt to ‘lift and shift’ the employees,

Cynosure’s claimed confidential information that was in those employees’ possession, and the

customer relationships they had built in their respective regions in order to establish “a ready-to-

go operation without having to invest in all of the work that it takes a company to develop its own

resources.” 23

         Indeed, the vast majority of Cynosure information that Plaintiffs reference in Plaintiffs’

Motion, which is the same information that was presented to the jury and which Plaintiffs

contended were the confidential trade secrets Defendants were alleged to have misappropriated,

are customer lists, ‘hot leads’ spreadsheets, and approved credit list. 24 In each instance, the

allegedly confidential information therein pertained exclusively to the customers in the regions

where the purportedly raided employees operated which, as shown throughout trial and in the


21
   See Plaintiffs’ Motion at p. 14. Defendants note that Plaintiffs take the last two allegations from Plaintiffs’ Amended
Complaint — attempting to divert Cynosure’s customers and misappropriating Cynosure’s marketing channels — and
reframe them in Plaintiffs’ Motion as “trading directly on Cynosure’s goodwill,” presumably in an attempt to sidestep
the jury’s findings that Defendants did not solicit Cynosure’s customers. see Verdict Form (Dkt. 646) at 1(a)(i)(B) and
1(b)(i)(B). Notably, Plaintiffs’ dropped their claim for loss of goodwill at trial and did not seek damages relating
thereto.
22
   Plaintiffs’ Motion at p. 13.
23
   Tr. Tran. Day 1 at 61:20-22.
24
   See Plaintiffs’ Motion at pp. 11-12; see also Tr. Exs. 271, 288, 372, 423, 682.


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excerpt from Plaintiffs’ Complaints supra, overwhelmingly did not include Massachusetts. In fact,

Cynosure did not question a single witness at trial about any Massachusetts customer or any

alleged confidential Cynosure information that pertained thereto. 25 Thus, even if the Court were to

accept Plaintiffs’ allegations that the purportedly ‘raided’ employees used Cynosure’s confidential

information to facilitate Defendants’ attempts to “destroy Cynosure’s goodwill” in their respective

regions the evidence presented in Plaintiffs’ Motion, and that presented to the jury, could only

arguably support that finding, if at all, as to customers outside of Massachusetts. 26

         Finally, neither Cynosure’s status as a Massachusetts based company that claims to have

felt financial injury in Massachusetts, nor Mr. Daley’s status as a Massachusetts resident, bring

Defendants’ alleged conduct under the purview of Chapter 93. First, the critical inquiry is not

where alleged harm was felt but rather “whether the center of gravity of circumstances that give

rise to the claim is primarily and substantially within the Commonwealth.” Kuwaiti, 438 Mass. at

473. As many courts have previously held, a place of injury within Massachusetts is not a sufficient

basis for finding that conduct occurred ‘primarily and substantially’ within the Commonwealth.

See e.g. Korpacz v. Women’s Prof’l Football League, 2006 WL 220762, at *5 (D. Mass. Jan. 27,

2006) (“Although plaintiffs themselves reside in Massachusetts and any losses they may have

suffered would have been incurred here, defendants' conduct occurred outside of the state.”);

Central Mass. Television, Inc. v. Amplicon, Inc., 930 F. Supp. 16, 27 (D. Mass. 1996) (“[W]hen

25
   Nor do Plaintiffs reference any Massachusetts customers in Plaintiffs’ Motion. Instead, the two examples Plaintiffs
use to support the proposition that “[e]ven before they resigned, the employees had already begun shifting sales
opportunities away from Cynosure and to Reveal Lasers” relate to a customer in New York (Ex. 446) and a customer
in Connecticut (Ex. 135). See Plaintiffs’ Motion at n. 6.
26
   Again, the exhibits Plaintiffs cite in their Motion to support Defendants’ alleged unfair conduct in furtherance of
eroding Cynosure’s goodwill make no mention of Massachusetts customers nor contain any language that would imply
they were intended to be used to sell to Massachusetts customers. See Plaintiffs’ Motion at p. 13-14; see also Ex.
477A, Ex. 497A. In fact, the language in Exhibit 477A implies it could not be used in Massachusetts as it specifically
identifies the “territory of North Carolina, Tennessee, Kentucky, Ohio and Indiana.” See Ex. 477A at 6:11-12.
Furthermore, there is nothing in the record to indicate that either Ex. 477A or Ex. 497A were ever distributed or used
on any potential customers. In fact, Chambers explicitly testified that he never utilized the purported sales pitches
referenced in those exhibits. See Tr. Tran. Day 11 at 74:22-78:11.


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‘place of injury’ is the only factor weighing in favor of a claimant, the admonition of Massachusetts

courts that liability under chapter 93A is not to be imposed lightly is particularly relevant.”).

“Indeed, if the courts were to apply a ‘place of injury’ test, ‘practically no case involving a

Massachusetts plaintiff would be exempt from Chapter 93A status, no matter how negligible the

defendants’ business activity in this [s]tate.’” Spring Inv’r Servs., Inc. v. Carrington Capital Mgt.,

LLC, No. CIV.A. 10-10166-FDS, 2013 WL 1703890, at *13 (D. Mass. Apr. 18, 2013) (quoting

Makino, U.S.A., Inc. v. Metlife Capital Credit Corp., 25 Mass.App.Ct. 302, 310 (Mass. App. Ct.

1988)).

          Second, the fact that Mr. Daley is a Massachusetts resident does not alter the analysis. Only

the defendants’ unfair and deceptive acts are relevant; other contacts with Massachusetts, such as

a defendant residing there, “do not play a part in this assessment.” Armstrong 2022 WL 17981392,

at *24; See also Neural Magic, 659 F. Supp. 3d at 183 (“[e]ven as alleged, this wrongful [conduct]

is not directed at Massachusetts. That [plaintiff] is a Massachusetts company and [defendant], its

former employee, signed his employment contract in Massachusetts does not satisfy the ‘primarily

and substantially’ in Massachusetts requirement.”). Plaintiffs’ allegations that Mr. Daley was

communicating with Reveal Lasers, Ltd.’s then CEO Eyal Buchbinder in Israel prior to the alleged

‘recruiting trips’ do not place the center of gravity of the circumstances underlying Plaintiffs’

claims in Massachusetts. There has been no evidence that any of Mr. Daley’s communications with

Mr. Buchbinder actually occurred while Mr. Daley was at his home, 27 nor that any of the alleged

conversations related to tortious activity that either individual intended to be, or were, carried out

within Massachusetts. Instead, Plaintiffs assert that whatever alleged plan Mr. Daley and Mr.



27
   Several witnesses, including Mr. Daley, testified in this case that their jobs at Cynosure subjected them to significant
travel obligations that kept them away from their residence for days and sometimes weeks at a time. See e.g. Tr. Tran.
Day 9 at 25:17-23, 32:17-33:2, 93:12-22 (Bob Daley); Tr. Tran. Day 11 at 18:10-19 (Chris Chambers).


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Buchbinder supposedly orchestrated was “executed…by aggressive recruiting” around the country

and abroad, as set forth earlier in this section. Merely contemplating acts in Massachusetts that are

then carried out elsewhere does not provide a basis for the application of Chapter 93A. See e.g.

Value Partners S.A. v. Bain & Co., 245 F. Supp. 2d 269, 280 (D. Mass. 2003) (holding that actions

and transactions at heart of Plaintiffs’ claims did not occur primarily and substantially in

Massachusetts because “[a]lthough Bain officials were located in Massachusetts, it is not clear that

their acts were confined to the site where the decisions were made.”); Camp Creek Hosp. Inns.,

Inc. v. Sheraton Franchise Corp., 139 F.3d 1396, 1410 (11th Cir. 1998) (affirming summary

judgment disposing of Plaintiff’s Chapter 93A claim because “although [defendant’s]

contemplation of these acts may have taken place in Massachusetts, the acts themselves took place

outside the Commonwealth” and thus the allegedly deceptive and unfair conduct was not

substantially and primarily in Massachusetts.)

        In sum, this case is not, and has never been, about Defendants’ allegedly unfair and

deceptive conduct occurring in Massachusetts. Plaintiffs did not assert that it was in their

Complaint, Amended Complaint, or Plaintiffs’ Motion. Plaintiffs did not argue or present any

evidence that it was to the Court or the jury. Plaintiffs have no basis to, and cannot, do so now.

Accordingly, Plaintiffs’ Chapter 93A claim must fail as a matter of law and Defendants respectfully

request that the Court deny Plaintiffs’ Motion in its entirety.

B.      The Jury’s Findings Do Not Establish Liability under Chapter 93A.

        In addition to the fact that Cynosure relies on tortious activity that did admittedly not occur

substantially and primarily in Massachusetts, which forecloses Plaintiffs’ Chapter 93A claim as a

matter of law, Plaintiffs’ contention that the jury’s finding of liability on their tort claims 28


28
   Including tortious interference, breach of fiduciary duty, aiding and abetting breach of fiduciary duty,
misappropriation of trade secrets, and conspiracy necessarily.


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necessarily and “conclusively [shows] that Defendants engaged in the type of conduct that violates

Chapter 93A” is equally unavailing. Plaintiffs’ Motion at p. 5. Undoubtedly, Plaintiffs’ repeated

improper and prejudicial conduct at trial influenced the jury’s liability determination and thus

cannot be conclusively relied upon by the Court in evaluating Plaintiffs’ Chapter 93A claim. 29

        Nevertheless, assuming arguendo that the jury’s findings can be credited, they are still not

sufficient to conclusively establish Chapter 93A liability, in part, because they relate to allegations

of conduct that occurred while Daley and Chambers were employed by Cynosure and thus arose

from an employment relationship that was private in nature and falls outside the bounds of Chapter

93A. See e.g. Manning v. Zuckerman, 388 Mass. 8, 13-14, 444 N.E.2d 1262 (1983) (finding that a

dispute between a former employee and employer did not state a claim under Chapter 93A because

it arose out of the parties’ employment relationship and not from an arm’s length commercial

transaction.); see also Guest-Tek Interactive Ent., Inc. v. Pullen, 665 F.Supp.2d 42, 47 (D. Mass.

2009) (holding that breaches of common law and statutory duties did not fall under Chapter 93A

because “although the dispute between [defendant] and [plaintiff] did not originate from the breach

of a private employment contract or non-compete agreement, the primary relationship between the

parties was one of employee and employer.”).

        While “the inapplicability of [Chapter 93A] to disputes arising from an employment

relationship does not mean that an employee never can be liable to its employer under [Chapter

93A],” the circumstances that would allow for application of Chapter 93A in the

employee/employer relationship context are inapplicable here. Governo L. Firm LLC v. Bergeron,

487 Mass. 188, 195, 166 N.E.3d 416, 425 (2021). Indeed, the cases where Chapter 93A liability


29
   See e.g. Defendants’ Motion to Dismiss, Motion to Strike, and Motion for Sanctions (Dkt. 607) (describing
Plaintiffs’ highly prejudicial and improper impeachment of Mr. Daley.); Tr. Tran. Day 16 at 190:14-194:3 (Plaintiffs’
egregious public disclosure of improperly obtained and previously undisclosed confidential information relating to
third-party business negotiations intended to influence the jury’s evaluation of witness credibility.).


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was found in that context have been limited to the employee’s conduct that occurred post-

employment or “independent of the former employment relationship.” See e.g. The Descartes Sys.

Grp. V. Celarix, Inc., No. CIV. A. 00-05042, 2001 WL 721493, at *2 (Mass. Super. June 20, 2001)

(applying Chapter 93A to claims where evidence showed employee improperly acquired trade

secrets after employment had ended); see also Governo, 487 Mass. at 426 (holding that trial court’s

instruction that jury should disregard everything defendants did while employed because it would

be ‘irrelevant’ to Chapter 93A analysis was improper because “the jury could have found that

defendants’ subsequent [post-employment] use of the converted materials was an unfair and

deceptive act.”) (emphasis added). Here, unlike in Celarix and Governo, Plaintiffs’ entire theory 30

of deceptive and unfair conduct is that Defendants were conspiring, raiding Cynosure’s sales force,

and misappropriating Cynosure’s trade secrets while employed by Cynosure and, as repeatedly

emphasized to the jury through its counsel’s favorite tag line, “on Cynosure’s time and Cynosure’s

dime.” 31

         Furthermore, to the extent Plaintiffs argue that Defendants’ alleged recruiting of then-

Cynosure employees continued after Daley and Chambers resigned, that purported conduct only

underlies Plaintiffs’ tortious interference claim that was premised on the idea that Defendants

interfered with then current Cynosure employees’ employment contracts with Cynosure. 32

Massachusetts courts have ruled directly on the question of whether tortious interference with

30
   While Plaintiffs did make some post-employment allegations against Defendants, such as contractual interference
with Cynosure’s contract with Sinopharm and Defendants post-Cynosure-employment use of the allegedly
misappropriated confidential information to solicit Cynosure customers, the jury correctly rejected those claims; See
Verdict Form (Dkt. 646) at 2(a); see also Amended Complaint at ¶¶ 188-191.
31
   See e.g. Plaintiffs’ Motion at p. 1 (“The evidence at trial established that Daley and Chambers, at the direct of and
with assistance from Reveal Lasers, carefully and dishonestly plotted to poach Cynosure’s salesforce by seeding
discontent among their direct reports, spreading lies about the planned termination of key sales personnel, and
orchestrating a whisper campaign about their new startup…all while falsely portraying to Cynosure that they were
rallying the troops.”) (emphasis added). In fact, these same allegations underlie each of the Plaintiffs’ common-law
claims on which they prevailed at trial including breach of fiduciary duty (a duty which arose, if at all, by virtue of
their employment) and the aiding and abetting thereof.



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employment agreements can be actionable under Chapter 93A and have held that, as a matter of

law, it cannot. See e.g. TalentBurst, Inc. v. Collabera, Inc., 567 F.Supp.2d 261, 270 (D. Mass.

2008). This is because “[i]t is firmly established that disputes between employers and employees

fall outside the scope of [Chapter 93A] § 11” because “employment agreements between an

employee and his employer do not constitute either ‘trade’ or ‘commerce.’” Informix, Inc. v.

Rennell, 41 Mass. App. Ct. 161, 162 (1996). “[D]isputes arising from an employment relationship

between an employee and the organization that employs him…are not covered by the c. 93A

remedies afforded in commercial transactions…Contract disputes between an employer and an

employee…are principally ‘private in nature’ and do not occur in the ordinary ‘conduct of any

trade or business’ as contemplated by the statute.” Id. (quoting Manning 388 Mass. at 14.). Thus,

“[g]iven ‘the actual willful breach of a non-compete by an employee is not actionable under

chapter 93A because the claim arose from the employment relationship, then the conduct of a third

party to induce such a breach must also not be actionable because this claim, too, arose from the

employment relationship.’” TalentBurst, Inc., 567 F.Supp. at 270 (quoting Intertek Testing Servs.

NA, Inc. v. Curtis-Strauss LLC, 2000 WL 1473126, at *11 (Mass. Super. 2000)).

       Additionally, while the jury’s findings of liability on Plaintiffs’ misappropriation of trade

secrets claims are irrelevant because they relate to alleged misappropriation while Chambers and

Daley were employed by Cynosure, the jury’s finding of no harm resulting from that

misappropriation provides an independent basis to dispose of the alleged applicability of Plaintiffs’

misappropriation claim to act as a basis for Chapter 93A liability. Because the jury found that

Cynosure failed to prove that any misappropriation caused any harm to Cynosure none of the

compensatory damages the jury awarded were in any way related to the alleged misappropriation,

as confirmed by the jury’s answer of “N/A” when presented with the question of what amount of




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compensatory damages awarded were attributable to misappropriation of trade secrets. 33

           The explicit jury finding that the allegedly unfair and deceptive misappropriation of trade

secrets had no relationship to any harm Cynosure claimed at trial prevents Plaintiffs from arguing

Defendants used those trade secrets post-employment to harm Cynosure and also prevents

Plaintiffs from recovering under Chapter 93A for the same allegations of misappropriation.

Undeniably, Chapter 93A requires any alleged deceptive or unfair act to cause a loss of money or

property in order for recovery of damages under Section 11 to be proper. See Mass. Gen. L. c. 93A,

§ 11 (“Any person who engages in the conduct of any trade or commerce and who suffers any

loss of money or property…may, as hereinafter provided, bring an action…”) (emphasis added);

see also Massachusetts Farm Bur. Fed’n Inc. v. Blue Cross of Massachusetts, Inc., 403 Mass. 722,

730 (1989) (“In the absence of a causal relationship between the alleged unfair acts and the claimed

loss, there can be no recovery.”) (emphasis added).

           Plaintiffs Motion ignores longstanding precedent, and the language of the statute itself.

Even worse, granting Plaintiffs’ Motion would improperly expand the scope of Chapter 93A to

cover allegedly deceptive and unfair acts that occurred within the context of Chambers’ and

Daley’s employment with Cynosure and for acts that the jury found caused Cynosure no harm. A

result of this unprecedented nature thwarts the entire purpose of the state statute and the protection

it intends to provide and Plaintiffs’ Motion must be denied.

C.         Cynosure is Not Entitled to a Duplicative Award of Compensatory or Punitive
           Damages and the Award it Seeks is Not Proportional.

           Although Chapter 93A allows compensatory damages, and multiple damages for

particularly egregious conduct, such damages are foreclosed when they would amount to

cumulative damages for the same injury. See Borne v. Haverhill Golf & Country Club, Inc., 58


33
     Id. at 9 (Reveal), and 11 (Daley).


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Mass. App. Ct. 306, 327 (2003), rev. denied, 440 Mass. 1101 (2003). Here, Plaintiffs acknowledge

that “Cynosure’s Chapter 93A claim...is predicated on the same wrongful actions and

conspiratorial conduct as its common law claims.” 34 But the jury already determined “what sum

of money would fairly and reasonably compensate Cynosure for the last profits it suffered” as a

result of the exact “same wrongful actions and conspiratorial conduct” that Cynosure now seeks

to be compensated for under Chapter 93A. 35

        Consistent with their inability to apportion damages at trial, Plaintiffs can not specify a

single injury suffered as a result of the alleged Chapter 93A violations that was not redressed by

the jury’s award of damages. 36 The law does not support Cynosure recovering duplicative

compensatory damages for its Chapter 93A claim when the jury already awarded compensatory

damages for common law claims associated with identical injuries arising from identical conduct.

See Borne, 58 Mass. App. Ct. at 327; see also Calimlim v. Foreign Car Ctr., Inc., 392 Mass. 228,

235-36 (1984). (“Where injury is incurred because of conduct which comprises the elements of

any common law, statutory, or regulatory cause of action, and which is also a violation of the

Consumer Protection Act, recovery of cumulative damages under multiple counts may not be

allowed.”)

        Furthermore, where a plaintiff has incurred no separate damages from a Chapter 93A

violation and its actual damages are duplicative of its common-law claims, as is the case here, a

court may only award double or treble damages if the defendants’ act was ‘willful or knowing.”

See Newly Wed Foods, Inc. V. Superior Nut Co., No. CIV.A. 05-0454E, 2010 WL 1178404 at *6




34
   Plaintiffs’ Motion at 17.
35
   Id; Verdict Form (Dkt. 646) at 7, 10, and 12.
36
   See Plaintiffs’ Motion at p. 17 (“the Court should award the same compensatory damages against Defendants on
Cynosure’s Chapter 93A claim, which is predicated on the same wrongful actions and conspiratorial conduct as its
common law claims.”) (emphasis added).


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(Mass. Super. Feb. 18, 2010). “[T]he standard prescribed by ‘willful,’ as well as the standard

prescribed by ‘knowing,’ is a state-of-mind standard that requires the fact finder to determine not

whether a defendant…should have had that state of mind, but whether in fact the defendant (or its

agents) did have that state of mind.” Computer Sys. Eng’g, Inc. v. Qantel Corp., 571 F. Supp. 1365,

1374 (D. Mass. 1983) aff’d 740 F.2d 59 (1st Cir. 1984). The Massachusetts Supreme Judicial Court

has held that a party’s actions are knowing or willful if the defendant acts with the intention or

with the conscious objective of committing unfair or deceptive acts. See e.g. Datacomm Interface,

Inc. v. Computerworld, Inc. et al., 396 Mass. 760, 780 (1986); Heller v. Silverbranch Constr. Corp.,

376 Mass. 621, 624 (1978). “Even though evidence that an ordinarily prudent person would have

known, and that the defendant should have known, may be received as circumstantial evidence

that the defendant did know, the question the fact finder must answer is whether in fact the

defendant did know [they were committing unfair or deceptive acts].” Qantel Corp., 571 F. Supp.

At 1374.

           The case law does not support a finding of willful or knowing violations in this case nor

does Plaintiff establish entitlement to one in its Motion. The First Circuit has highlighted that most

of the cases where willful and knowing violations are found “tend to cluster around findings of:

(a) coercion or extortion…(b) fraud and similar forms of misrepresentation…or (c) abusive

litigation.” Incase Inc. v. Timex Corp., 488 F.3d 46, 58 (1st Cir. 2007) (citing cases). Plaintiffs do

not point to any such findings by the jury because there were none. Instead, in the only instance

where the jury was explicitly asked to indicate their findings as to whether certain tortious conduct

was performed ‘willful[ly] and malicious[ly]’ they found that it was not. 37As Plaintiffs repeatedly

urge, “there is no basis for the Court to depart from the jury’s findings” and, in this rare instance,



37
     See Verdict Form (Dkt. 646) at 5(c).


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Defendants agree. 38

         Nevertheless, in an attempt to sidestep the jury’s explicit finding, Plaintiffs focus on

purportedly implicit findings that they allege the jury must have made in reaching the liability

determinations on Plaintiffs’ tort claims. 39 As discussed in Section II(B) supra, the jury’s stated

findings with respect to Plaintiffs’ claims cannot serve to form the basis for Chapter 93A violations

and certainly their alleged implicit findings cannot either. The only independent evidence Plaintiffs

offer of any supposedly willful or knowing conduct on the part of Defendants is alleged awareness

of the existence of restrictive covenants in certain contracts, a general request for indemnity from

their new employer, and Plaintiffs’ mischaracterization of the record relating to Defendants’

activities surrounding the Reveal NDAs. 40 Plaintiffs provide no evidence that Daley and Chambers

had actual awareness any of the foregoing acts were unfair or deceptive nor that they had the

intention to commit unfair or deceptive acts. Indeed, this purported evidence hardly rises to the

coercion or extortion, fraud, or abusive litigation that the First Circuit explained are the typical

circumstances in which findings of willful and knowing behavior that could support a multiple

damages award under Chapter 93A are made. See Incase 488 F.3d at 58.

         Absent any evidence, even if the Court finds that Defendants’ alleged acts underlying

Plaintiffs’ Chapter 93A claim were done willfully and knowingly, multiple damages are still not

warranted because such damages are punitive and the jury already had the opportunity make such




38
   Plaintiffs’ Motion at 15.
39
   See Plaintiffs’ Motion at 15.
40
   Specifically, Plaintiffs claim that there is ‘ample evidence’ that Daley and Chambers destroyed all the Reveal
NDAs…and then doctored contracts during this time period to falsify the dates of their employment.” Plaintiffs’
Motion at 17. The evidence Plaintiffs rely on shows that this assertion is patently untrue. Instead, multiple witnesses
testified that they did not know the location of the NDAs nor remember why certain dates were written on documents.
See e.g. Tr. Tran. Day 7 at 83:4-19, 131:2-12, 142:23-143:20, 144:15-145:7, 147:22-25, (Bob Daley); Tr. Tran. Day 8
at 35:5-39:1 (Cory Murrell); Tr. Tran. Day 13 at 23:12-23 (Jason Kalso); Tr. Tran. Day 16 at 80:13-20 (Brogan
Chambers).


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findings. 41 See Value Partners S.A., 245 F. Supp. 2d at 277 (“The double or treble damages

available under chapter 93A are punitive in nature.”). Thus, an additional award of punitive

damages would be duplicative. See e.g. Evans v. Lorillard Tobacco Co., No. 2004-2840-B, 2011

WL 7860228, at *29 (Mass. Super. Sept. 6, 2011), aff’d in part, rev’d in part, 465 Mass. 411, 990

N.E.2d 997 (2013) (“The multiple damages factor, even if appropriate, has been satisfied by the

punitive damages that were awarded in connection with the jury’s verdict. A further award of

damages would be duplicative.”); see also Borne, 58 Mass. App. Ct. at 327 (“The multiple

damages factor in c. 93A claims has been satisfied by the punitive damages that were awarded in

connection with the discrimination claims...the judge was right to dismiss the c. 93A claims as

duplicative.”).

           Finally, Plaintiffs’ request that the Court impose additional punitive damages in the form

of multiple damages to “find Defendants jointly and severally liable for amounts between

$50,000,000 to $75,000,000” highlights the egregious and shocking nature of Plaintiffs’ Motion. 42

Indeed, just a few months ago in this district, Judge Margaret Guzman, analyzing similar claims

under Chapter 93A as those at issue here, imposed multiple (double) damages that resulted in total

damages of $3,000,000 against one corporate defendant and $3,600,000 against another. See KPM

Analytics N. Am. Corp. v. Blue Sun Sci., LLC, No. CV 21-10572-MRG, 2024 WL 1558167, at *18

(D. Mass. Apr. 10, 2024). In reaching its decision to award $1.5 million and $1.8 million in punitive

damages against the respective entities, the Court explained:

                these total damages amounts will undoubtedly serve the twin goals of 93A:
                namely punishment and deterrence. These large sums will send a clear
                signal to the marketplace that egregious acts of trade secret
                misappropriation on the one hand and tortious interference with contractual
                relationships on the other will result in significant, real world
                consequences. In addition to ensuring that the total damages awards are

41
     See Verdict Form (Dkt. 646) at 17.
42
     Plaintiffs’ Motion at 19.


                                                    19
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              sufficiently punitive, the Court must also make sure that the total
              damages awarded are proportional to the wrongdoing at issue.”

Id. (emphasis added). There is no reasonable argument that the imposition of punitive damages

between $25,000,000 and $50,000,000, for a total damages award of between $50,000,000 and

$75,000,000, is in any way proportional to the facts and circumstances in this case. 43 Nor is it clear

what message the Court would be signaling to the marketplace if it imposed such an

overwhelmingly significant punishment against two individuals and a start-up company. The

undersigned counsel has been unable to find a single instance where Chapter 93A was weaponized

to punish defendants, particularly individual defendants, to such an outrageous degree. Even if the

Court finds Chapter 93A applicable, certainly the Defendants’ alleged actions with respect to

Cynosure are not the single most unfair and deceptive acts ever perpetrated in the history of the

Commonwealth of Massachusetts.

                                                   CONCLUSION

         For these reasons, Defendants request that the Court deny Plaintiffs’ Motion in its entirety.

To the extent the Court is inclined to grant any portion of Plaintiffs’ Motion, Defendants request

that in so doing the Court issue findings of facts and conclusions of law, including findings on (i)

whether Defendants’ alleged conduct occurred primarily and substantially in Massachusetts and

(ii) whether Defendants’ acts were willful and knowing.

                                    REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(d), Defendants request oral argument.




43
  Defendants further contest Plaintiffs’ right to attorneys’ fees. Attorneys’ fees can only be awarded if Plaintiffs prevail
on the Chapter 93A claim which, as shown herein, they cannot. To the extent the Court disagrees and finds that
Plaintiffs are entitled to their attorneys’ fees, Defendants reserve all rights to challenge any requested or proposed
award via separate briefing.


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Dated: November 22, 2024          Respectfully Submitted,

                                  DEFENDANTS,

                                  By their attorneys,

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                              CERTIFICATE OF SERVICE

      I, A. Madison Dini, hereby certify that on November 22, 2024, a copy of the foregoing
document was served on counsel for all appearing parties via the ECF filing system.


                                          /s/ A. Madison Dini
                                          A. Madison Dini




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